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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

EDGEMARC ENERGY HOLDINGS, LLC,                                 Case No. 19-11104 (JTD)
et al.,1
                                                               (Jointly Administered)
                          Debtors.


   NOTICE OF AGENDA FOR THE HEARING ON MARCH 3, 2020, AT 2:00 P.M.2
(PREVAILING EASTERN TIME), BEFORE THE HONORABLE JOHN T. DORSEY AT
     THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
    DELAWARE, LOCATED AT 824 NORTH MARKET STREET, 5TH FLOOR,
           COURTROOM NO. 5, WILMINGTON, DELAWARE 19801

INTERIM FEE APPLICATIONS:

1.       Second Quarterly Fee Application Request of Morris, Nichols, Arsht & Tunnell LLP, as
         Delaware Bankruptcy Co-Counsel for the Official Committee of Unsecured Creditors, for
         Allowance of Monthly Compensation and for Monthly Reimbursement of all Actual and
         Necessary Expenses Incurred for the Period August 1, 2019 Through and Including
         October 31, 2019 [D.I. 784, filed on December 13, 2019]

         Response Deadline: January 2, 2020 at 4:00 p.m. (ET)

         Responses:

         A.       Fee Examiner’s Final Report Regarding Second Quarterly Fee Application of
                  Morris, Nichols, Arsht & Tunnell LLP [D.I. 921, filed February 27, 2020]

         Related Documents:

         A.       Third Monthly Application of Morris, Nichols, Arsht & Tunnell LLP, as
                  Delaware Bankruptcy Co-Counsel for the Official Committee of Unsecured
                  Creditors, for Allowance of Monthly Compensation and for Monthly
                  Reimbursement of all Actual and Necessary Expenses Incurred for the Period



1The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
EdgeMarc Energy Holdings, LLC (6900), EM Energy Manager, LLC (5334), EM Energy Employer, LLC (8026),
EM Energy Ohio, LLC (6935), EM Energy Pennsylvania, LLC (1541), EM Energy West Virginia, LLC (3771), EM
Energy Keystone, LLC (7506), EM Energy Midstream Ohio, LLC (1268), and EM Energy Midstream Pennsylvania,
LLC (3963). The Debtors’ corporate headquarters and mailing address is 1800 Main Street, Suite 220, Canonsburg,
PA 15317.
2Any party who wishes to attend telephonically is required to make arrangements prior to the hearing through
CourtCall by telephone (866-582-6878) or by facsimile (866-533-2946).


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                  August 1, 2019 Through and Including August 31, 2019 [D.I. 642, filed on
                  October 4, 2019]

         B.       Keybank National Association’s Objection to the Third Monthly Application of
                  Morris, Nichols, Arsht & Tunnell LLP as Delaware Bankruptcy Co-Counsel for
                  the Official Committee of Unsecured Creditors, for Allowance of Monthly
                  Compensation and for Monthly Reimbursement of all Actual and Necessary
                  Expenses Incurred for the Period August 1, 2019 Through August 31, 2019 [D.I.
                  692, filed on October 24, 2019]

         C.       Fourth Monthly Application of Morris, Nichols, Arsht & Tunnell LLP, as
                  Delaware Bankruptcy Co-Counsel for the Official Committee of Unsecured
                  Creditors, for Allowance of Monthly Compensation and for Monthly
                  Reimbursement of all Actual and Necessary Expenses Incurred for the Period
                  September 1, 2019 Through and Including September 30, 2019 [D.I. 770, filed on
                  December 3, 2019]

         D.       Fifth Monthly Application of Morris, Nichols, Arsht & Tunnell LLP, as Delaware
                  Bankruptcy Co-Counsel for the Official Committee of Unsecured Creditors, for
                  Allowance of Monthly Compensation and for Monthly Reimbursement of all
                  Actual and Necessary Expenses Incurred for the Period October 1, 2019 Through
                  and Including October 31, 2019 [D.I. 775, filed on December 6, 2019]

         E.       Certification of Counsel [D.I. 914, filed on February 25, 2020]

         F.       Omnibus Notice of Hearing for Interim Fee Applications [D.I. 915, filed on
                  February 26, 2020]

         G.       Keybank National Association’s Omnibus Notice of Withdrawal of Objections to
                  Fee Applications in Accordance with Settlement Agreement [D.I. 919, filed on
                  February 26, 2020]

         Status: This matter is going forward.

2.       Second Quarterly Fee Application Request of Leech Tishman Fuscaldo & Lampl, LLC,
         as Special Counsel for the Official Committee of Unsecured Creditors, for Allowance of
         Monthly Compensation and for Monthly Reimbursement of all Actual And Necessary
         Expenses Incurred for the Period August 1, 2019 Through and Including October 31,
         2019 [D.I. 785, filed on December 13, 2019]

         Response Deadline: January 2, 2020 at 4:00 p.m. (ET)

         Responses:

         A.       Fee Examiner’s Final Report Regarding Second Quarterly Fee Application of
                  Leech Tishman Fuscaldo & Lampl, LLC [D.I. 898, filed on February 14, 2020]




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         Related Documents:

         A.       Second Consolidated Monthly Application of Leech Tishman Fuscaldo & Lampl,
                  LLC for Compensation for Services Rendered and Reimbursement of Expenses as
                  Special Counsel to the Committee of Unsecured Creditors of Edgemarc Energy
                  Holdings, LLC for the Period from August 1, 2019 Through October 31, 2019
                  [D.I. 779, filed on December 10, 2019]

         B.       Certification of Counsel [D.I. 914, filed on February 25, 2020]

         C.       Omnibus Notice of Hearing for Interim Fee Applications [D.I. 915, filed on
                  February 26, 2020]

         D.       Keybank National Association’s Omnibus Notice of Withdrawal of Objections to
                  Fee Applications in Accordance with Settlement Agreement [D.I. 919, filed on
                  February 26, 2020]

         Status: This matter is going forward.

3.       Second Interim Application of Conway Mackenzie, Inc. as Financial Advisor to the
         Official Committee of Unsecured Creditors, for Allowance of Compensation of Services
         and Reimbursement of Expenses Incurred for the Period August 1, 2019 Through
         October 31, 2019 [D.I. 786, filed on December 13, 2019]

         Response Deadline: January 2, 2020 at 4:00 p.m. (ET)

         Responses:

         A.       Fee Examiner’s Final Report Regarding Second Quarterly Fee Application of
                  Conway Mackenzie, Inc. [D.I. 897, filed on February 14, 2020]

         Related Documents:

         A.       Third Monthly Application of Conway Mackenzie, Inc. as Financial Advisor to
                  the Official Committee of Unsecured Creditors, for Allowance of Compensation
                  of Services and Reimbursement of Expenses Incurred for the Period August 1,
                  2019 Through August 31, 2019 [D.I. 625, filed on September 26, 2019]

         B.       Keybank National Association’s Objection to the Third Monthly     Application of
                  Conway Mackenzie, Inc. as Financial Advisor to the Official       Committee of
                  Unsecured Creditors, for Allowance of Compensation of             Services and
                  Reimbursement of Expenses Incurred for the Period August 1,       2019 Through
                  August 31, 2019 [D.I. 659, filed on October 16, 2019]

         C.       Fourth Monthly Application of Conway Mackenzie, Inc. as Financial Advisor to
                  the Official Committee of Unsecured Creditors, for Allowance of Compensation



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                  of Services and Reimbursement of Expenses Incurred for the Period September 1,
                  2019 Through September 30, 2019 [D.I. 663, filed on October 16, 2019]

         D.       Keybank National Association’s Objection to the Fourth Monthly Application of
                  Conway Mackenzie, Inc. as Financial Advisor to the Official Committee of
                  Unsecured Creditors, for Allowance of Compensation of Services and
                  Reimbursement of Expenses Incurred for the Period September 1, 2019 Through
                  September 30, 2019 [D.I. 721, filed on November 5, 2019]

         E.       Fifth Monthly Application of Conway Mackenzie, Inc. as Financial Advisor to the
                  Official Committee of Unsecured Creditors, for Allowance of Compensation of
                  Services and Reimbursement of Expenses Incurred for the Period October 1, 2019
                  Through October 31, 2019 [D.I. 756, filed on November 25, 2019]

         F.       Certification of Counsel [D.I. 914, filed on February 25, 2020]

         G.       Omnibus Notice of Hearing for Interim Fee Applications [D.I. 915, filed on
                  February 26, 2020]

         H.       Keybank National Association’s Omnibus Notice of Withdrawal of Objections to
                  Fee Applications in Accordance with Settlement Agreement [D.I. 919, filed on
                  February 26, 2020]

         Status: This matter is going forward.

4.       Second Interim Fee Application of Brown Rudnick LLP, as Counsel for the Official
         Committee of Unsecured Creditors, for Payment of Interim Compensation and
         Reimbursement of Expenses Incurred for the Period from August 1, 2019 Through
         October 31, 2019 [D.I. 787, filed on December 13, 2019]

         Response Deadline: January 2, 2020 at 4:00 p.m. (ET)

         Responses:

         A.       Fee Examiner’s Final Report Regarding Second Quarterly Fee Application of
                  Brown Rudnick LLP [D.I. 896, filed on February 18, 2020]

         Related Documents:

         B.       Third Monthly Fee Application of Brown Rudnick LLP, as Co-Counsel for the
                  Official Committee of Unsecured Creditors for Allowance of Interim
                  Compensation and for Reimbursement of Disbursements Incurred for the Period
                  August 1, 2019 Through August 31, 2019 [D.I. 630, filed on September 27, 2019]

         C.       Keybank National Association’s Objection to the Third Monthly Fee Application
                  of Brown Rudnick LLP, as Co-Counsel for the Official Committee of Unsecured
                  Creditors for Allowance of Interim Compensation and for Reimbursement of


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                  Disbursements Incurred for the Period August 1, 2019 Through August 31, 2019
                  [D.I. 660, filed on October 16, 2019]

         D.       Fourth Monthly Application of Brown Rudnick LLP, as Co-Counsel for the
                  Official Committee of Unsecured Creditors for Allowance of Interim
                  Compensation and for Reimbursement of Disbursements Incurred for the Period
                  September 1, 2019 Through September 30, 2019 [D.I. 695, filed on October 24,
                  2019]

         E.       Keybank National Association’s Objection to the Fourth Monthly Fee Application
                  of Brown Rudnick LLP, as Co-Counsel for the Official Committee of Unsecured
                  Creditors for Allowance of Interim Compensation and for Reimbursement of
                  Disbursements Incurred for the Period September 1, 2019 Through September 30,
                  2019 [D.I. 733, filed on November 13, 2019]

         F.       Fifth Monthly Fee Application of Brown Rudnick LLP, as Co-Counsel for the
                  Official Committee of Unsecured Creditors for Allowance of Interim
                  Compensation and for Reimbursement of Disbursements Incurred for the Period
                  October 1, 2019 Through October 31, 2019 [D.I. 750, filed on November 21,
                  2019]

         G.       Certification of Counsel [D.I. 914, filed on February 25, 2020]

         H.       Omnibus Notice of Hearing for Interim Fee Applications [D.I. 915, filed on
                  February 26, 2020]

         I.       Keybank National Association’s Omnibus Notice of Withdrawal of Objections to
                  Fee Applications in Accordance with Settlement Agreement [D.I. 919, filed on
                  February 26, 2020]

         Status: This matter is going forward.

5.       First Interim Fee Application of Prime Clerk LLC, Administrative Advisor to the
         Debtors, for the Period from May 15, 2019 Through October 31, 2019 [D.I. 788, filed on
         December 16, 2019]

         Response Deadline: January 6, 2020 at 4:00 p.m. (ET)

         Responses:

         A.       Fee Examiner’s Final Report Regarding First Quarterly Fee Application of Prime
                  Clerk LLC [D.I. 901, filed on February 14, 2020]

         Related Documents:

         A.       Combined Monthly Fee Application of Prime Clerk LLC, Administrative Advisor
                  to the Debtors, for Compensation for Services and Reimbursement of Expenses


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                  for the Periods from (I) July 1, 2019 Through July 31, 2019 and (II) August 1,
                  2019 Through August 31, 2019 [D.I. 620, filed September 25, 2019]

         B.       Certificate of No Objection Regarding the Combined Monthly Fee Application of
                  Prime Clerk LLC, Administrative Advisor to the Debtors, for Compensation for
                  Services and Reimbursement of Expenses for The Periods from (I) July 1, 2019
                  Through July 31, 2019 and (II) August 1, 2019 Through August 31, 2019 [D.I.
                  661, filed on October 16, 2019]

         C.       Monthly Fee Application of Prime Clerk LLC, Administrative Advisor to the
                  Debtors, for Compensation for Services and Reimbursement of Expenses for the
                  Period from September 1, 2019 Through September 30, 2019 [D.I. 690, filed on
                  October 23, 2019]

         D.       Certificate of No Objection Regarding the Monthly Fee Application of Prime
                  Clerk LLC, Administrative Advisor to the Debtors, for Compensation for Services
                  and Reimbursement of Expenses for the Period from September 1, 2019 through
                  September 30, 2019 [D.I. 772, filed December 4, 2019]

         E.       Omnibus Notice of Hearing for Interim Fee Applications [D.I. 904, filed on
                  February 19, 2020]

         Status: This matter is going forward.

6.       Second Interim Application of Davis Polk & Wardwell LLP for Allowance of
         Compensation for Services Rendered and Reimbursement of Expenses Incurred as
         Counsel to the Debtors and Debtors In Possession for the period August 1, 2019 Through
         October 31, 2019 [D.I. 789, filed on December 16, 2019]

         Response Deadline: January 6, 2020 at 4:00 p.m. (ET)

         Responses:

         A.       Fee Examiner’s Final Report Regarding Second Quarterly Fee Application of
                  Davis Polk and Wardwell LLP [D.I. 899, filed on February 18, 2020]

         Related Documents:

         A.       Fourth Monthly Application of Davis Polk & Wardwell LLP for Allowance of
                  Compensation for Services Rendered and Reimbursement of Expenses Incurred
                  as Counsel to the Debtors and Debtors In Possession for the Period August 1,
                  2019 Through August 31, 2019 [D.I. 626, filed on September 26, 2019]

         B.       Certificate of No Objection Regarding the Fourth Monthly Application of Davis
                  Polk & Wardwell LLP for Allowance of Compensation for Services Rendered
                  and Reimbursement of Expenses Incurred as Counsel to the Debtors and Debtors
                  In Possession for the Period August 1, 2019 Through August 31, 2019 [D.I. 672,
                  October 16, 2019]


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         C.       Fifth Monthly Application of Davis Polk & Wardwell LLP For Allowance of
                  Compensation for Services Rendered and Reimbursement of Expenses Incurred
                  as Counsel to the Debtors and Debtors In Possession for the Period September 1,
                  2019 Through September 30, 2019 [D.I. 655, filed on November 4, 2019]

         D.       Response of Official Committee of Unsecured Creditors to Applications for
                  Compensation of Debtor Professionals [D.I. 714, filed on November 4, 2019]

         E.       Sixth Monthly Application of Davis Polk & Wardwell LLP for Allowance of
                  Compensation for Services Rendered and Reimbursement of Expenses Incurred
                  as Counsel to the Debtors and Debtors In Possession for the Period October 1,
                  2019 Through October 31, 2019 [D.I. 759, filed on November 27, 2019]

         F.       Omnibus Notice of Hearing for Interim Fee Applications [D.I. 904, filed on
                  February 19, 2020]

         G.       Certification of Counsel [D.I. 909, filed on February 25, 2020]

         Status: This matter is going forward.

7.       Second interim Fee application of Opportune LLP, Restructuring Advisor to the Debtors
         and Debtors-In-Possession, for Compensation and Reimbursement of Expenses Pursuant
         to 11 U.S.C. §§ 330 and 331 for the Period from August 1, 2019 through October 31,
         2019 [D.I. 797, filed on November 19, 2019]

         Response Deadline: January 8, 2020 at 4:00 p.m. (ET)

         Responses:

         A.       Fee Examiner’s Final Report Regarding Second Quarterly Fee Application of
                  Opportune LLP [D.I. 900, filed on February 18, 2020]

         Related Documents:

         A.       Fourth Monthly Application of Opportune LLP, Restructuring Advisor to the
                  Debtors and Debtors-In-Possession, for Compensation and Reimbursement of
                  Expenses Pursuant to 11 U.S.C. §§ 330 and 331 for the Period from August 1,
                  2019 through August 31, 2019 [D.I. 657, filed on October 16, 2019]

         B.       Fifth Monthly Application of Opportune LLP, Restructuring Advisor to the
                  Debtors and Debtors-In-Possession, for Compensation and Reimbursement of'
                  Expenses Pursuant to 11 U.S.C. §§ 330 and 331 for the Period from September 1,
                  2019 through September 30, 2019 [D.I. 658, filed on October 16, 2019]

         C.       Response of Official Committee of Unsecured Creditors to Applications for
                  Compensation of Debtor Professionals [D.I. 714, filed on November 4, 2019]




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         D.       Sixth Monthly Application of Opportune LLP, Restructuring Advisor to the
                  Debtors and Debtors-In-Possession, for Compensation and Reimbursement of
                  expenses pursuant to 11 U.S.C. §§ 330 and 331 for the Period from October 1,
                  2019 through October 31, 2019 [D.I. 783, filed on December 13, 2019]

         E.       Omnibus Notice of Hearing for Interim Fee Applications [D.I. 904, filed on
                  February 19, 2020]

         F.       Certification of Counsel [D.I. 912, filed on February 25, 2020]

         Status: This matter is going forward.

8.       Second Interim Fee Application of Evercore Group L.L.C., Debtors’ Investment Banker,
         for Allowance of Compensation and Reimbursement of Expenses for the Period from
         August 1, 2019 Through October 31, 2019 [D.I. 823, filed on January 14, 2020]

         Response Deadline: February 3, 2020 at 4:00 p.m. (ET)

         Responses:

         A.       The Fee Examiner has provided comments to the interim fee app

         Related Documents:

         A.       Second Monthly Fee Application of Evercore Group L.L.C., Debtors' Investment
                  Banker, for Allowance of Compensation and Reimbursement of Expenses for the
                  Period from August 1, 2019 Through August 31, 2019 [D.I. 622, September 25,
                  2019]

         B.       Certificate of No Objection Regarding the Second Monthly Application of
                  Evercore Group L.L.C., Debtors’ Investment Banker, for Allowance of
                  Compensation and Reimbursement of Expenses for the Period from August 1,
                  2019 Through August 31, 2019 [D.I. 662, filed October 16, 2019]

         C.       Third Monthly Fee Application of Evercore Group L.L.C., Debtors’ Investment
                  Banker, for Allowance of Compensation and Reimbursement of Expenses for the
                  Period from September 1, 2019 through September 30, 2019 [D.I. 654, filed on
                  October 15, 2019]

         D.       Response of Official Committee of Unsecured Creditors to Applications for
                  Compensation of Debtor Professionals [D.I. 714, filed on November 4, 2019]

         E.       Fourth Monthly Fee Application of Evercore Group L.L.C., Debtors’ Investment
                  Banker, for Allowance of Compensation and Reimbursement of Expenses for the
                  Period from October 1, 2019 through October 31, 2019 [D.I. 768, filed on
                  December 2, 2019]




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         F.       Omnibus Notice of Hearing for Interim Fee Applications [D.I. 904, filed on
                  February 19, 2020]

         G.       Certification of Counsel [D.I. 911, filed on February 25, 2020]

         Status: This matter is going forward.

9.       Sixth Monthly and Second Interim Application of Landis Rath & Cobb LLP, Delaware
         Counsel to the Debtors and Debtors-In-Possession, for Compensation and
         Reimbursement of Expenses Pursuant to 11 U.S.C. §§ 330 and 331 for the Period from
         August 1, 2019 Through October 31, 2019 [D.I. 888, filed on February 10, 2020]

         Response Deadline: March 2, 2020 at 4:00 p.m. (ET)

         Responses:

         A.       The Fee Examiner has provided comments to the interim fee app

         Related Documents:

         A.       Fourth Monthly Application of Landis Rath & Cobb LLP, Delaware Counsel to
                  the Debtors and Debtors-In-Possession, for Compensation and Reimbursement of
                  Expenses Pursuant to 11 U.S.C. §§ 330 and 331 for the Period from August 1,
                  2019 Through August 31, 2019 [D.I. 632, filed on September 30, 2019]

         B.       Certificate of No Objection Regarding the Fourth Monthly Application of Landis
                  Rath & Cobb LLP, Delaware Counsel to the Debtors and Debtors-In-Possession,
                  for Compensation and Reimbursement of Expenses Pursuant to 11 U.S.C. §§ 330
                  and 331 for the Period from August 1, 2019 Through August 31, 2019 [D.I. 694,
                  filed on October 21, 2019]

         C.       Fifth Monthly Application of Landis Rath & Cobb LLP, Delaware Counsel to the
                  Debtors and Debtors-In-Possession, for Compensation and Reimbursement of
                  Expenses Pursuant to 11 U.S.C. §§ 330 and 331 for the Period from September 1,
                  2019 Through September 30, 2019 [D.I. 656, filed on October 15, 2019]

         D.       Response of Official Committee of Unsecured Creditors to Applications for
                  Compensation of Debtor Professionals [D.I. 714, filed on November 4, 2019]

         E.       Certification of Counsel [D.I. 910, filed on February 25, 2020]


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         Status: This matter is going forward.

Dated: February 28, 2020                              LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                                      /s/ Matthew R. Pierce
                                                      Adam G. Landis (No. 3407)
                                                      Kerri K. Mumford (No. 4186)
                                                      Kimberly A. Brown (No. 5138)
                                                      Matthew R. Pierce (No. 5946)
                                                      919 Market Street, Suite 1800
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                                                              mumford@lrclaw.com
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                                                             pierce@lrclaw.com
                                                      -and-

                                                      DAVIS POLK & WARDWELL LLP
                                                      Darren S. Klein (admitted pro hac vice)
                                                      Lara Samet Buchwald (admitted pro hac vice)
                                                      Aryeh E. Falk (admitted pro hac vice)
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                                                      Counsel to the Debtors
                                                      and Debtors-In-Possession




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